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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
MICHAEL DOBKIN, individually and on
behalf of all others similarly situated, Case No. 3:15-cv-05089-BRM-LHG
Plaintiff, Hon. Brian R. Martinotti, U.S.D.J.

Hon. Lois H. Goodman, U.S.M.J.
V.
FINAL ORDER

NRG RESIDENTIAL SOLAR SOLUTIONS | APPROVING CLASS SETTLEMENT
LLC, a Delaware limited liability company,

Defendant.

THIS MATTER having come before the Court by way of plaintiff Michael Dobkin’s
motion for final approval of class settlement pursuant to Federal Rule of Civil Procedure 23
(Dkt. 96), and plaintiff Michael Dobkin’s motion for reasonable attorneys’ fees and reimbursable
expenses and costs and incentive award (Dkt. 87) (collectively, the “Motions”), the Court has

(1) reviewed the Motions, including the Class Action Settlement Agreement (“Settlement
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Agreement”),! the objections of Jeffrey Wilens (Dkt. 89) and Gilbert Abarca (Dkt. 91) which
objectors have sought leave of Court to withdraw pursuant to Fed. R. Civ. P. 23(e) by way of
stipulation with the Parties (Dkt. 100), and the Parties’ responses to the objections, and (2)
considered the oral argument of counsel and any objectors who wished to appear though none
did so, and based on this review and the findings below, the Court finds good cause to GRANT
the Motions.

FINDINGS

1. This Court has jurisdiction over the subject matter of the Action and over all

Parties to the Action, including all Settlement Class Members.

2. On November 17, 2017, this Court preliminarily approved the Settlement and
certified, for settlement purposes only, the Settlement Class consisting of: all Persons with
respect to whom NRG Residential was offered a lead from a third-party lead generator as a result
of the lead generator’s telephone call to such person. (Dkt. 84.)

3. KCC Class Action Services, LLC (the “Settlement Administrator”) provided
notice to Persons within the Settlement Class in Compliance with paragraphs Error! Reference
source not found.4.2 and Error! Reference source not found.4.3 of the Settlement Agreement,
due process, and Rule 23 of the Federal Rules of Civil Procedure. The Notice (a) fully and
accurately informed Persons within the Settlement Class about the lawsuit and the Settlement,
(b) provided sufficient information so that Persons within the Settlement Class were able to
decide whether to accept the benefits offered (including whether to submit a Claim Form), opt-
out and pursue their own remedies, or object to the proposed Settlement, (c) provided procedures

for Settlement Class Members to file written objections to the proposed Settlement, to appear at

' This Order incorporates by reference the definition of any capitalized terms as set forth in the Settlement
Agreement except as otherwise defined herein.
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the Final Approval Hearing, and to state objections to the proposed Settlement, and (d) provided
the time, date, and place of the Final Approval Hearing. The Settlement Agreement is fair,
reasonable, and adequate and in the best interests of the Settlement Class in light of the
complexity, expense, and duration of litigation and the risks involved in establishing liability and
damages and in maintaining the class action through trial and appeal. The Settlement Agreement
was negotiated at arm’s length, in good faith, by capable and experienced counsel, with full
knowledge of the facts, the law, and the risks inherent in litigating the claims and defenses at

issue, and with the active involvement of the Parties and the assistance of the Honorable Lois H.

Goodman of this Court.

4, The consideration provided under the Settlement Agreement constitutes fair value
given in exchange for the release of the Released Claims against the Released Parties. The Court
finds that the consideration to be paid to the Settlement Class Members is reasonable,
considering the facts and circumstances of the claims and affirmative defenses asserted in the
Action, and the potential risks and likelihood of success of alternatively pursuing trials on the
merits, and given that the Settlement confers substantial economic benefits on the Settlement
Class Members, is not contrary to the public interest, will provide the Parties with repose from

litigation, and is supported by Plaintiff and Class Counsel.

5. The Parties adequately performed their obligations under the Settlement
Agreement.
6. The deadline for Settlement Class Members to submit a Claim Form was

February 20, 2018.
7. An award of $ 2,333,333.33 in attorneys’ fees and costs to Class Counsel is fair

and reasonable in light of the nature of this Action, Class Counsel’s experience and efforts in
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prosecuting this Action, and the benefits obtained for the Settlement Class. The award will be
paid out of the Settlement Fund pursuant to paragraphs Error! Reference source not found.9.1
through Error! Reference source not found.9.2 of the Settlement Agreement.

8. An incentive award to Plaintiff Michael Dobkin of $5,000.00 is fair and
reasonable in light of Plaintiff's risks in commencing this Action as the Class Representative, the
time and effort spent by Plaintiff in litigating this Action as the Class Representative, and
Plaintiffs public interest service. The award will be paid out of the Settlement Fund pursuant to

paragraphs Error! Reference source not found.9.3 through Error! Reference source not

found.9.4 of the Settlement Agreement.

9. The persons listed on Exhibit A hereto are found to have validly excluded
themselves from the Settlement in accordance with the provisions of the Preliminary Approval
Order. Mara Allen’s request for exclusion has been withdrawn.

IT IS HEREBY ORDERED THAT:

10. Settlement Class. The Court hereby finally certifies the following class for the
purposes of settlement only: all Persons with respect to whom NRG Residential was offered a
lead from a third-party lead generator as a result of the lead generator’s telephone call to such
person. Excluded from the Settlement Class are (a) any Judge or Magistrate Judge presiding over
this action and members of their immediate families; (b) NRG Residential, NRG Residential’s
subsidiaries, parents, successors, predecessors, and any entity in which NRG Residential or its
parents have a controlling interest and their current or former officers, directors, agents, attorneys
and employees; (c) all Persons who have had their claims against NRG Residential or NRG
Energy, Inc. or their respective subsidiaries, parents, successors, predecessors, and any entity in

which NRG Residential or its parents have a controlling interest and their current or former
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officers, directors, agents, attorneys and employees, previously released and/or adjudicated on
the merits; and (d) counsel for all Parties and members of their families. For the purposes of
settlement only, the Court finds that the Settlement Class is so numerous that joinder of all
members is impracticable, that there are questions of law or fact common to the Settlement Class
which predominate over any questions affecting only individual members of the Settlement
Class, that the claims of the Class Representative are typical of the claims of the Settlement
Class, that the Class Representative will fairly and adequately protect the interests of the

Settlement Class, and that a class action would be superior to other available methods for fairly

and efficiently adjudicating the controversy.

11. Binding Effect of Order. This order applies to all claims or causes of action
settled under the Settlement Agreement, and binds Plaintiff and all Persons within the Settlement
who did not properly request exclusion under paragraph Error! Reference source not found.1 1
of the Order Granting Preliminary Approval of Class Settlement. This order does not bind
persons who filed a timely and valid request for exclusion. Attached hereto as Exhibit A is a list
of persons who properly requested to be excluded from the Settlement.

12. Objections. Pursuant to Federal Rule of Civil Procedure 23(e) and the
Stipulation to Withdraw Objections between the parties filed with the Court on April 30, 2018
(Dkt. 100), which stipulation is deemed entered and approved, the objections of J effery Wilens
and Gilbert Abarca are hereby withdrawn.

13. Release. Plaintiff and all Settlement Class Members are (a) deemed to have
released and discharged NRG Residential and the Released Parties from all claims arising out of
or asserted in this Action and all claims released under the Settlement Agreement, and (b) barred

and permanently enjoined from asserting, instituting, or prosecuting, either directly or indirectly,
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these claims. The full terms of the release described in this paragraph are set forth in section
Error! Reference source not found.3 of the Settlement Agreement and are specifically
approved and incorporated herein by reference (the “Release”).

14, Class Relief. The Settlement Fund, consisting of seven million United States
dollars and no cents ($7,000,000.00), shall be used to pay Settlement Class Members who submit
Approved Claims. Each Settlement Class Member submitting an Approved Claim shall receive
a pro rata share of the Settlement Fund, minus costs, fees (including attorneys’ fees), and

expenses, as provided in paragraph Error! Reference source not found.2.1 of the Settlement

Agreement.

15. Administration Fee. The Settlement Administrator is authorized to withdraw
from the Settlement Fund moneys sufficient to pay the Settlement Administration Expenses
according to the terms of the Settlement Agreement. Such payment shall have priority to the
funds in the Escrow Account containing the Settlement Fund over the Fee Award, the incentive
award, and the payments to the Settlement Class Members who submit Approved Claims.

16. Appointment of Class Representative and Class Counsel. Plaintiff Michael
Dobkin was previously certified as Class Representative and shall implement the Settlement in
accordance with the Settlement Agreement. As previously appointed, Rafey S$. Balabanian and
Eve-Lynn Rapp of the law firm Edelson PC are Class Counsel. Class Counsel are experienced in
class litigation, including litigation of similar claims, and have fairly and adequately represented
the interests of the Settlement Class. Class Counsel and the Class Representative have fairly and
adequately protected the Settlement Class’s interests and must continue to do so.

17. Attorneys’ Fees and Costs. Class Counsel is awarded $ 2,333,333.33 in

attorneys’ fees and costs. Payment shall be made from the Settlement Fund pursuant to
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paragraph Error! Reference source not found.9.2 of the Settlement Agreement. Class Counsel
shall pay the Spencer Law Firm, Wilens, Abarca, and Allen $185,000 from Class Counsel’s Fee
Award pursuant to a certain settlement agreement and release by and among the Parties, Edelson
PC, the Spencer Law Firm, Wilens, Abarca, and Allen. Such payment, therefore, shall not
diminish the pro rata share of any payment to any Settlement Class Member.

18. Incentive Award. Plaintiff Michael Dobkin is awarded $5,000.00 as an incentive
award. Payment shall be made from the Settlement Fund pursuant to paragraph 9.4 of the

Settlement Agreement.

19. Dismissal with Prejudice. The Court hereby dismisses the Action in its entirety
with prejudice and without fees or costs except as otherwise provided for herein.

20. Termination. Ifthe Effective Date does not occur for any reason, the following
will occur: (a) the Final Judgment (consisting of this Order and the separately entered Judgment)
and all of its provisions will be vacated by their own terms, including, but not limited to, the Fee
Award and the incentive award, and the Final Judgment will not waive or otherwise impact the
Parties’ rights or arguments in any respect, and (b) the Action will revert to the status that existed
before the Settlement Agreement’s execution date. No term or draft of the Settlement
Agreement, or any part of the Parties’ settlement discussions, negotiations, or documentation
will have any effect or be admissible in evidence for any purpose in the Action or any other
proceeding.

21. | The Court’s Continuing Jurisdiction. Pursuant to the Parties’ request, the
Court will and does retain jurisdiction over this Action and the Parties until final performance of
the Settlement Agreement.

22. Entry of Judgment. The Clerk of Court is hereby directed to enter as a separate
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document on the docket the accompanying Judgmen

Date:_ 5 /) Y , 2018
THE HONORABLE BRIAN R. MARTINOTTI
UNITED STATES DISTRICT JUDGE

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EXHIBIT A
The Persons or entities listed below are found to have validly excluded themselves from
the Settlement Agreement in accordance with the provisions of the Preliminary Approval Order:
1. Gerald Roylance

2. Samuel Katz

